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                                   STATEMENT OF FACTS

        Your affiant,                     is a special agent assigned to the Federal Bureau of
Investigation, Flint Resident Agency. In my duties as a special agent, I am responsible for
investigating Domestic Terrorism cases (including Racially Motivated Violent Extremism, Anti-
Government Violent Extremism, Anarchist Violent Extremism, and Militia Violent Extremism),
as well as counter terrorism threat assessments and threat to life matters. As part of my duties, I
have investigated federal criminal violations involving firearms, possession of explosives, bomb
threats, acts of violence, and threats of violence communicated over phone and through the use of
the internet. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a special agent, I am authorized by law or by a Government agency
to engage in or supervise the prevention, detection, investigation, or prosecution of a violation of
Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

            Identification of Nathan A. Thornsberry (AKA “Nathaniel Matthews”)

        On January 6, 2021, a self-professed First Amendment auditor recorded interviews with
several individuals near a police barricade on the Lower West Terrace, within the Restricted
Perimeter established on U.S. Capitol Grounds. One of these individuals, shown in Exhibit 1
below, approached the interviewer after moving away from the police line on the Lower West
Terrace, and he appeared to be under the effects of chemical spray. When the interviewer asked
the individual for his name and where he was from, the individual stated: “I’m Nate, yeah Nathan
Thornsberry, I’m from Michigan.” Thornsberry further stated: “I got right up in the front in the
middle here. They came on it pretty hard push back so we linked arms and just started pushing. I
stayed up there for about four different pushes, got blasted over and over and over” (Exhibit 1).




           Exhibit 1: Screenshot of Nathan Thornsberry in a recorded video interview.
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         Following the events of January 6, 2021, the FBI Flint Resident Agency investigated a tip
that a Michigan resident named Nathan A. Thornsberry posted on Facebook about a book written
by Thornsberry documenting his participation and personal observations at the U.S. Capitol on
Jan. 6, 2021. The tip was submitted by an individual (“Witness 1”) who knew Thornsberry socially
and had interacted with him in person. Your affiant met in person with Witness 1, who viewed
Exhibit 1 and the images below and recognized Thornsberry as the person shown in the
photographs.
        A review of images and videos from the U.S. Capitol grounds on January 6, 2021, revealed
that Thornsberry was wearing a black jacket with a large United States Marine Corps emblem on
the back with “Marines” written above it. He was wearing a yellow neck gaiter around his neck, a
black “Trump 2020” shirt, khaki pants, and black gloves that appear to have reinforced knuckles
(Exhibit 2). A check of military service records confirmed that Nathan A. Thornsberry served in
the United States Marine Corps. Several images show Thornsberry in close proximity to a line of
officers forming a barrier to the Capitol.




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Exhibit 2: Screenshots from publicly available videos that capture Thornsberry on U.S. Capitol
                                  grounds on Jan. 6, 2021.

       A review of Thornsberry’s Facebook page—which lists the profile name as “Nathan
Thornsberry (Nathaniel Matthews)”—identified a post in March 2023 promoting the book
“January 6th Redux: A Patriot’s Story.” The post stated, “This is the book they don’t want you to
read. These are the pictures they don’t want you to see. Over 100 color images with an eyewitness
account and video analysis of January 6th, 2021, brings the events at the U.S. Capitol to light.”
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        Facebook records obtained via subpoena provided that the Thornsberry/Matthews
Facebook account was registered to the name Nathan Thornsberry and the phone number (XXX)
XXX-6208. Michigan Secretary of State records confirm that Nathan A. Thornsberry lives in
North Branch, Michigan, consistent with biographical information listed on Thornsberry’s
Facebook account. AT&T records obtained via subpoena provide that the 6208 number is
registered with the address XXXX Castle Road, North Branch, Michigan to an individual
identified through open-source investigation as Thornsberry’s mother-in-law. State records
indicate that Thornsberry purchased the Castle Road property from his mother-in-law in 2018.
        Open-source research provided that “January 6th Redux: A Patriot’s Story” was a revision
of an earlier version, “January 6: A Patriot’s Story,” which Thornsberry self-published online
under the name “Nathaniel Matthews.” A 103-page paperback version of this earlier version
remains available for purchase on Amazon. The “About the Author” section of the Amazon
profile for “Nathaniel Matthews” is consistent with Thornsberry’s biographical details, according
to open-source research, and Amazon records obtained via subpoena provide that the “Nathaniel
Matthews” author account was registered by an individual named Nathan Thornsberry, listing the
email address NXXXXX.tXXXXXXXXX@yahoo.com and the same 6208 phone number
associated with Thornsberry’s Facebook account.
        The description of the book provides: “The eyewitness account of the events of January
6th, 2021. For over a year, the mainstream media and establishment politicians have created a
narrative of a violent and coordinated insurrection. The reporting has been selective and
misleading. The author gives his opinion on what motivated hundreds of thousands if not millions
of protesters to journey to the nations capitol, recalls what he saw and experienced that day, and
shares his thoughts on the aftermath.”
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 Exhibit 3: The electronic cover of “January 6: A Patriot’s Story” by “Nathaniel Matthews,” as
                                       shown on Amazon.
       Publicly available information on Amazon indicates that the revised edition, “January 6th
Redux: A Patriot’s Story,” was self-published in March 2023. The book is available on Kindle
through Amazon. An excerpt stated, “This work is based on the eyewitness report of the author
and review of available video and photographs.”
       Your affiant reviewed “January 6: A Patriot’s Story,” which provides the author’s firsthand
observations from the United States Capitol grounds on January 6, 2021. Thornsberry stated his
reason for going to Washington, D.C. was to attend the Stop the Steal protest pertaining to alleged
widespread voter fraud in the 2020 U.S. Presidential Election.
        The book also includes statements by Thornsberry relevant to his motive for participating
in the events of January 6. For example, Thornsberry wrote: “I sense an internal threat, a threat
that played a significant role in the deterioration of the war on terror, perverting it and turning it
inward towards our own citizens. It is a threat to our way of life, to our freedoms, and to our
constitution. A shadowy organization has infiltrated our society, our institutions, and not just in
the United States, but across the world – our schools, universities, intelligence agencies, our news
and our entertainment, and our elected officials at both the state and federal levels” (p. 10).
Thornsberry described going to the Ellipse on January 6th. “I was excited about the Trump rally,
but the Stop the Steal protest was what I came for” (p. 50). As he reflected on the events of January
6th after describing his conduct at the Capitol, Thornsberry wrote that he believed that “the events
were orchestrated to complete the steal of an election, to discredit a portion of the population who
were aware of the truth, and to justify the government’s strong-arm tactics in silencing them” (pp.
84-85).
        Thornsberry described what he observed outside the Capitol on January 6th as rioters and
law enforcement clashed. As tension escalated, Thornsberry could sense violence was coming. He
believed police were preparing to attack protesters. Thornsberry moved to the front near the barrier
in order to protect an old man and a young woman. As he shielded them, Thornsberry was struck
with metal batons and sprayed with pepper spray (pp. 63-64). As the crowd surged in response to
police flash grenades and gas canisters, Thornsberry was pushed “…tight to the police line, and
stood me up” (p. 65). Note that this account that Thornsberry was involuntarily forced against the
police line is inconsistent with both the video evidence detailed below—which shows Thornsberry
voluntarily pushing against the police line with no one blocking his exit—and with his own
description of his conduct provided to the Lower West Terrace interviewer on January 6 (Exhibit
1).
                  Assault and Obstruction of Officers on Lower West Terrace
        Based on investigative experience with similar cases, your affiant recognized the area
depicted in the interview from Exhibit 1 as being the Lower West Terrace of the U.S. Capitol
grounds. Your affiant obtained and reviewed body-worn camera (BWC) footage from several
Metropolitan Police Department (MPD) officers present during the afternoon of January 6th, 2021
on the Lower West Terrace. The BWC footage of officers present during the encounter provided
a timeline of Thornsberry’s attempts to forcibly breach the police barrier. Between approximately
2:06 p.m. EST and 2:08 p.m. EST, Thornsberry was captured on MPD BWC footage at the north
west side of the Lower West Plaza of the U.S. Capitol participating in the crowd’s attempts to
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breach the manned police line and in attempting to push metal bike-rack barriers against MPD and
United States Capitol Police (“USCP”) officers.
        At 2:06:23 p.m. EST, MPD Officer RT’s BWC captured Thornsberry joined others fighting
against MPD and USCP officers just north of the media tower on the Lower West Plaza of the
U.S. Capitol. Thornsberry had his back pushing up against the junction of two metal bike racks
held by MPD and USCP officers. The BWC displayed officers pushing against Thornsberry’s back
(Exhibit 4). Officers then proceed to push the bicycle racks back, meeting resistance from
Thornsberry and others.




   Exhibit 4: Screenshot from the BWC footage of MPD Officer RT (identity of the officer is
   known to the FBI) from January 6, 2021 showing Nathan Thornsberry pushing against the
                        barrier held by police outside the U.S. Capitol.

       At 2:06:53 p.m. EST, MPD Officer JW’s BWC captured Thornsberry using his back to
push against the junction of two bicycle racks at the police line just north of the media tower on
the Lower West Plaza of the U.S. Capitol (Exhibit 5). Officer JW’s BWC captured participants,
including Thornsberry continuing to push on the bicycle racks until at least 2:06:59 p.m. EST when
Officer JW withdrew from the police line.
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   Exhibit 5: Screenshot from the BWC footage of MPD Officer JW (identity of the officer is
   known to the FBI) from January 6, 2021 showing Nathan Thornsberry pushing against the
                        barrier held by police outside the U.S. Capitol.

        At 2:07:42 p.m. EST, MPD Officer RA’s BWC captured Thornsberry pushing his back
against bike rack barricades manned by MPD and USCP officers struggling to maintain part of the
police line just north of the media tower on the Lower West Plaza of the U.S. Capitol (Exhibit 6).




   Exhibit 6: Screenshot from the BWC footage of MPD Officer RA (identity of the officer is
   known to the FBI) from January 6, 2021 showing Nathan Thornsberry pushing against the
                         barrier held by police outside the U.S. Capitol.

        At 2:07:48, Officer RT can be heard multiple times on BWC telling people to back up.
Starting at 2:07:48 p.m. EST, Thornsberry can be heard multiple times yelling, "Bring It!" (Exhibit
7). At 2:07:55 p.m. EST, officers were able to regain control of the bicycle rack and place it back
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on the ground. Thornsberry stood with his back against the bicycle rack and his hand on the rail
for approximately 30 seconds.




   Exhibit 7: Screenshot from the BWC footage of MPD Officer RT (identity of the officer is
   known to the FBI) from January 6, 2021 showing Nathan Thornsberry pushing against the
                        barrier held by police outside the U.S. Capitol.

       Publicly available photographs taken by an individual present in the crowd shows
Thornsberry in the same moment shown above as he pushed backwards against a metal bicycle
rack being held by multiple police officers (Exhibit 8).




Exhibit 8: Thornsberry pushing backward against a metal bike rack manned by law enforcement.
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        I also reviewed video footage recorded on the U.S. Capitol Police’s Closed Circuit Video
(“CCV”) system capturing Thornsberry on the Lower West Terrace on Jan. 6, 2021. Specifically,
Thornsberry is visible at approximately 2:07:47 p.m. EST repeatedly pushing himself backwards
against a metal bike rack barricade manned by law enforcement officers near the middle of the
police line on the Lower West Terrace (Exhibit 9).




  Exhibit 9: Screenshot from USCP CCV footage showing Thornsberry pushing against police
     line on Lower West Terrace area of Capitol grounds at approximately 2:07 p.m. EST


        A video contained in a FBI Cincinnati case file associated with a known subject captured
Thornsberry battling what appears to be the effects of a chemical spray as Thornsberry offers water
to other protesters (Exhibit 10).
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  Exhibit 10: Screenshot from third-party video from the U.S. Capitol grounds on Jan. 6, 2021
               showing Nathan Thornsberry under the effects of chemical spray.

        After the police line collapsed, USCP and MPD officers retreated to the corner of the lower
terrace near the door of a stairwell leading to the upper terrace. In a video posted to YouTube title
“Just Another Channel,” Thornsberry can be seen standing near the last of the officers as the
officers withdrew up the stairs (Exhibit 11).
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 Exhibit 11: Screenshot from Just Another Channel of Thornsberry as officers withdrew up the
                                          stairwell

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Nathan Thornsberry violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; (4) knowingly engages
in any act of physical violence against any person or property in any restricted building or grounds;
or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Thornsberry violated 40
U.S.C. § 5104(e)(2)(D), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress.

       Your affiant submits there is probable cause to believe that Thornsberry violated 18 U.S.C.
231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct, impede,
or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
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performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        Your affiant submits that there is probable cause to believe that Thornsberry violated 18
U.S.C. § 111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate,
or interfere with any person designated in section 1114 of Title 18 while engaged in or on account
of the performance of official duties, where such acts involve physical contact with the victim or
the intent to commit another felony. Persons designated within section 1114 of Title 18 include
federal officers such as USCP officers, and include any person assisting an officer or employee of
the United States in the performance of their official duties.




                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 20th day of August, 2024.


                                                     ___________________________________
                                                     G. MICHAEL HARVEY
                                                     U.S. MAGISTRATE JUDGE
